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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

United States of America,

‘s Criminal Action No. 21-00175 (TJK)

Ethan Nordean, ef al., Honorable Timothy J. Kelly

Defendants.

 

 

APPLICATION FOR ACCESS TO TRIAL EXHIBITS

Pursuant to Local Criminal Rule 57.6 and Standing Order No. 21-28, applicants Conrad
Smith, Danny McElroy, Byron Evans, Governor Latson, Melissa Marshall, Michael Fortune, Jason
DeRoche, and Reginald Cleveland (“Applicants”) seek access to all trial exhibits in this criminal
case. Applicants are United States Capitol Police officers harmed during the January 6, 2021 attack
on the U.S. Capitol (the “Attack”). The exhibits that Applicants seek are relevant to Applicants’
civil action against the Defendants in this case, among others, for harming Applicants in the course
of the Attack. See Smith v. Trump, No. 21-cv-2265 (D.D.C.). Additionally, the Defendants in this
case allegedly were members of the Proud Boys organization, which also is a defendant in
Applicants’ civil action.

For the reasons stated herein, Applicants respectfully request that the Court order the
Government to allow Applicants to access and download all exhibits from the trial in the above-
captioned matter (the “Trial Exhibits”), including downloadable documentary, photographic, and
videographic exhibits. Applicants request access to the Trial Exhibits via the electronic “drop box”
solution outlined in Standing Order No. 21-28, which governs public access to video exhibits in

criminal cases arising from the Attack.

   

  
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Discovery in Applicants’ pending civil case has commenced, and the Trial Exhibits are
relevant to establishing Applicants’ claims in that case. Applicants’ claims include, inter alia,
conspiracy to interfere with Congress and U.S. Capitol Police officers by force, intimidation or
threats (42 U.S.C. § 1985(1)); assault; and battery, all based on Defendants’ conduct related to the
Attack. On May 4, 2023, the trial jury in this case found all Defendants guilty of Conspiracy to
Prevent Members of Congress or Federal Officers from Discharging Their Duties, among other
charges, see Dkt. 804 at 3-4, and it found Defendants Nordean, Biggs, Rehl, and Tarrio guilty of
Seditious Conspiracy and Conspiracy to Obstruct an Official Proceeding. See Dkt. 804 at 1-3. Like
the Applicants’ Section 1985(1) claim against the Defendants in this case, these criminal charges
centered on Defendants’ alleged use or conspiracy to use force, intimidation, or threat to prevent
Congress and Capital Police officers from performing their duties respecting the congressional
certification of the 2020 presidential election results. See Dkt. 380 at 8-26.

Most, if not all, of the Trial Exhibits remain unavailable on the Court’s Case
Management/Electronic Case Filing (CM/ECF) system. As members of the public, Applicants
have a right to access documents submitted at trial, and the exhibits in this case appear to have
been made available to the press via the electronic “drop box” solution outlined in Standing Order
No. 21-28. See Dkt. 591 at 3 (“[T]he admitting party shall make available to the media at the end
of each trial day a copy of any admitted exhibit that has been published to the jury and not restricted
by the Court for dissemination.”); see also May 23, 2022 Minute Order granting The Press
Coalition’s 362 Motion to Access Video Exhibits (pre-trial exhibits). Accordingly, Applicants
request that the Court order the Government to allow Applicants to access and download the Trial
Exhibits via an electronic drop box.

In further support of this application, Applicants state as follows.
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LEGAL STANDARD

1. Local Criminal Rule 57.6 of the United States District Court for the District of
Columbia provides that any interested person (other than a party or a subpoenaed witness) “who
seeks relief relating to any aspect of proceedings in a criminal case . . . shall file an application for
such relief with the Court.” The application must include “a statement of the applicant’s interest
in the matter as to which relief is sought, a statement of facts, and a specific prayer for relief.” Id.

2. Standing Order No. 21-28 (the “Standing Order”) provides that, to obtain access to
video exhibits in a criminal case “arising from the January 6, 2021 violent breach of the United
States Capitol (the ‘Capitol Cases’),” a non-party must file an application under Local Criminal
Rule 57.6. Standing Order at 5; see also In re Press Coal.’s Motion for Access to Video Exhibits
& to Set Aside Standing Ord. No. 21-28, No. MC 21-87 (BAH), 2021 WL 2894647, at *8 (D.D.C.
July 2, 2021) (noting the Standing Order “provides mechanisms for public and media access to
video exhibits for this Court”). If the application is granted, the Government must make the video
exhibits available using a “drop box.” Standing Order at 5-6. The judge may further order that the
Government permit the non-party to download the video exhibits. Jd. at 6.

STATEMENT OF INTEREST

3. Applicants seek to access and download the Trial Exhibits, which are relevant to
their claims in the pending civil case Smith v. Trump, No. 21-cv-2265 (D.D.C.).

4. Applicants are eight United States Capitol Police officers who defended the Capitol
from attackers on January 6, 2021. They are plaintiffs in Smith, a lawsuit alleging, inter alia, that
several defendants, including the Defendants tried in this case, conspired to use force, intimidation,

and threats to prevent Congress from certifying the 2020 presidential election results and aided
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and abetted others in assaulting and battering plaintiffs. See Am. Compl. JJ 1-10, 199-210, Smith,
No. 21-cv-2265 (D.D.C. Dec. 3, 2021), Dkt. 89 (hereinafter “Smith Am. Compl.”).

5. On January 26, 2023, the court in Smith granted in part and denied in part motions
to dismiss by various defendants, permitting the case to proceed to discovery. See generally Mem.
Op. & Order, Smith, No. 21-cv-2265 (Jan. 26, 2023), Dkt. 179. Applicants’ claims for conspiracy
under 42 U.S.C. § 1985, assault, and battery, survived that motion against all the Defendants in
this case and the Proud Boys organization. See id.

6. The Trial Exhibits are relevant to Applicants’ claims in Smith. See, e.g., Tarquinii
v. Del Toro, No. CV 21-1567, 2023 WL 2424618, at *2 (D.D.C. Mar. 9, 2023) (“Relevance is
‘construed broadly to encompass any matter that bears on, or that reasonably could lead to other
matter that could bear on any party’s claim or defense.’” (citations omitted)). Applicants’ Section
1985 claim requires proof of certain agreements between co-conspirators, see Thompson v. Trump,
590 F. Supp. 3d 46, 96-97 (D.D.C. 2022) (describing principles of civil conspiracy relevant to
Section 1985 claim), which was a fundamental requirement of proving the criminal charges in this
case. Indeed, the Third Superseding Indictment in this case charged all five Defendants with
Conspiracy to Prevent an Officer from Discharging Any Duties under 18 U.S.C. § 372, the
criminal corollary to Section 1985, which contains almost identical language. See Dkt. 380 at 26.
All Defendants were found guilty on that count. See Dkt. 804 at 3-4. The Third Superseding
Indictment also charged all Defendants with two other conspiracy counts: Seditious Conspiracy
under 18 U.S.C. § 2384, see Dkt. 380 at 8-23, and Conspiracy to Obstruct an Official Proceeding
under 18 U.S.C. § 1512(k), see Dkt. 380 at 24, of which Defendants Nordean, Biggs, Rehl, and

Tarrio were found guilty, see Dkt. 804 at 1-3. The Trial Exhibits are likely to bear on the
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Defendants’ and others’ roles in planning, coordinating, and executing the Attack, all of which are
relevant to Applicants’ Section 1985 claim.

the Additionally, the evidence in this criminal case is relevant to Applicants’ assault
and battery claims, which is based in part on aiding-and-abetting liability. See Smith, No. 21-CV-
02265 (APM), 2023 WL 417952, at *9 (D.D.C. Jan. 26, 2023) (sustaining aiding-and-abetting
assault and battery claims against individual defendants). Aiding-and-abetting liability may
involve “acts of assistance as well as words of encouragement” that occur at or prior to the time of
the tort. Halberstam v. Welch, 705 F.2d 472, 482 (D.C. Cir. 1983). As with the Section 1985 claim,
the Trial Exhibits are likely relevant to showing Defendants’ roles in planning, coordinating, and
executing the Attack, all of which goes to whether Defendants provided “acts of assistance” or
“words of encouragement.” Halberstam, 705 F.2d at 484. They also may show how Applicants
were attacked, the intensity of the Attack, and how the attackers cooperated and were aided and
abetted by others present during the Attack, all of which may help substantiate Applicants’ claims
and inform the discovery strategy in their civil action. See Collier v. District of Columbia, 46 F.
Supp. 3d 6, 14 (D.D.C. 2014) (assault requires showing “apprehension of harmful or offensive
contact and that a reasonable person in his position would have experienced such apprehension”);
District of Columbia v. Chinn, 839 A.2d 701, 705 (D.C. 2003) (battery requires “proving an
‘intentional act that causes harmful or offensive bodily contact’”).

8. Accordingly, the Trial Exhibits are relevant to Applicants’ claims in Smith.

STATEMENT OF FACTS

9. On May 4, 2023, the jury found all Defendants guilty on Count Four of the Third

Superseding Indictment, which charged Conspiracy to Prevent Members of Congress or Federal

Officers from Discharging Their Duties. Dkt. 804 at 3-4. Specifically, Count Four charged that all
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five Defendants knowingly agreed to prevent by force, intimidation, and threat, Members of
Congress and law enforcement officers from discharging their duties and to induce them by like
means to leave the places where their duties were to be performed. Dkt. 380 at 26.

10. Applicants’ Amended Complaint in their civil action alleges the same conduct by
these same Defendants. See Smith Am. Compl. at 67, § 168.

11. The jury further found Defendants Nordean, Biggs, Rehl, and Tarrio guilty of
Seditious Conspiracy and Conspiracy to Obstruct an Official Proceeding. See Dkt. 804 at 1-3.

12. Defendants Nordean, Tarrio, Biggs, Rehl, and Pezzola are, respectively, the same
Nordean, Tarrio, Biggs, Rehl, and Pezzola who are defendants in Smith.

PRAYER FOR RELIEF

13. Applicants are entitled to access the Trial Exhibits under both common law and the
First Amendment. “The public’s right of access to judicial records derives from two independent
sources: the common law and the First Amendment.” Jn re Press Coal.’s Motion for Access to
Video Exhibits & to Set Aside Standing Ord. No. 21-28, No. MC 21-87 (BAH), 2021 WL 2894647,
at *4 (D.D.C. July 2, 2021) (citation omitted). Indeed, “[c]rime victims, just like members of the
public, have a general, qualified right to inspect and copy public records and documents, including
judicial records and documents.” United States v. Moussaoui, 483 F.3d 220, 234 n.10 (4th Cir.
2007) (quotation omitted).

14. There is a “strong presumption in favor of public access to judicial proceedings,
including judicial records,” under common law. Jn re Leopold to Unseal Certain Elec. Surveillance
Applications & Ords., 964 F.3d 1121, 1127 (D.C. Cir. 2020); see also, e.g., In re Press & Pub.
Access to Video Exhibits in Capitol Riot Cases, No. MC 21-46 (BAH), 2021 WL 1946378, at *4

(D.D.C. May 14, 2021) (video exhibits in Capitol Cases “are undoubtedly judicial records to which
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the presumption of public access attaches”). Likewise, “public access to criminal trials forms the
core” of the First Amendment right to a public trial in all criminal prosecutions. Jn re Press Coal. ’s
Motion for Access to Video Exhibits & to Set Aside Standing Ord. No. 21-28, 2021 WL 2894647,
at *5 (citation omitted).

15. That presumption is incontestable where, as here, the requested judicial records
were submitted at trial. See, e.g., Craig v. Harney, 331 U.S. 367, 374 (1947) (“A trial is a public
event. What transpires in the court room is public property.”); Jn re Time Inc., 182 F.3d 270, 271
(4th Cir. 1999) (“A First Amendment right of access applies to a criminal trial, including
documents submitted in the course of a trial.”).

16. The public interest in the Trial Exhibits is even greater in this case, which concerns
the Attack. Indeed, the Standing Order recognizes the “significant public ... interest” in the
Capitol Cases. Standing Order at 2. The Trial Exhibits “are not just important evidence in
individual criminal proceedings but are vital evidence of what happened on January 6 when rioters
stormed the U.S. Capitol grounds and building.” In re Press Coal.’s Motion for Access to Video
Exhibits & to Set Aside Standing Ord. No. 21-28, 2021 WL 2894647, at *7.

17. Thus, this Court has granted non-parties the ability to access and download exhibits
in several Capitol Cases. See May 23, 2022 Minute Order granting The Press Coalition’s 362
Motion to Access Video Exhibits; Minute Order, United States v. Cua, No. 21-cr-107 (D.D.C.
May 15, 2023) (granting these Applicants’ request for trial exhibits); Minute Order granting The
Press Coalition’s 415 Motion to Access Trial Exhibits, United States v. Rhodes, No. 22-cr-00015
(D.D.C. Dec. 12, 2022).

18. Indeed, the Court in this case already has permitted non-parties to access and

download Trial Exhibits that were not restricted by the Court for dissemination, including non-
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video exhibits. See Dkt. 591 at 3 (“[T]he admitting party shall make available to the media at the
end of each trial day a copy of any admitted exhibit that has been published to the jury and not
restricted by the Court for dissemination”).
19. Accordingly, the requested Trial Exhibits are a matter of public record and should
be made readily available to Applicants.
CONCLUSION
For the foregoing reasons, Applicants request that the Court order the Government to allow
Applicants to access and download the Trial Exhibits through an electronic drop box. On May 9,
2023, undersigned counsel contacted counsel for each of the parties in this matter to inquire as to
their position on this motion. No party has responded to indicate a position.
Dated: May 23, 2023 Respectfully submitted,
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